                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                                             No. CR 08-2972 JB

JOSUE TARANGO, a/k/a
Josh Tarango,

                Defendant.


                             MEMORANDUM OPINION AND ORDER

        THIS MATTER comes before the Court on the United States’ Notice of Intention to Offer

Expert Testimony, filed March 27, 2009 (Doc.33). The Court held a Pretrial Conference on April

9, 2009. The primary issue is whether the Court should allow the United States’ four expert

witnesses to testify at trial. Because the Court finds that the proposed testimony of each witness has

a reliable basis in knowledge and experience in their respective fields of discipline, the Court will

allow the United States to offer in its case in chief at trial the expert testimony and evidence that the

United States has described in its Notice.

                                PROCEDURAL BACKGROUND

        The United States filed notice on March 27, 2009 that it intends to introduce the testimony

of four expert witnesses. See Notice at 1. The four experts include: (i) a forensic chemist who will

testify regarding the results of chemical tests he conducted on the cocaine and methamphetamine

exhibits seized in this case; (ii) a New Mexico Department of Public Safety Forensic Scientist who

will discuss the results of her examination of FBI exhibits submitted to her for fingerprint analysis;

(iii) a New Mexico Department of Public Safety Forensic Scientist who will testify about his
examination of the AK-47 Assault Rifle’s operability; and (iv) a Drug Enforcement Administration

special agent who will testify, among other things, that the quantity of cocaine and

methamphetamine in question is a distributable amount, with an explanation of the distinctions

between user amounts and distribution quantities of controlled substances.

        At the Pre-Trial Conference, the Court asked Tarango’s attorney, Charles Fisher, if he had

any problems with the United States’ Notice. Mr. Fisher stated that he did not have any problem.

The Court will therefore grant the United States’ request to allow the introduction of the evidence

discussed in the Notice.

        IT IS ORDERED that the Plaintiff United States of America’s request in the United States’

Notice of Intention to Offer Expert Testimony that the Court allow the expert testimony and

evidence described in the Notice to be offered in its case in chief, and that the Court find that the

proposed testimony of each witness has a reliable basis in the knowledge and experience in their

respective fields of discipline, is granted.




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                                                              UNITED STATES DISTRICT JUDGE




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